       CASE 0:20-cr-00078-DSD-DTS Doc. 76 Filed 11/03/21 Page 1 of 2




                             UNITED STATES DISTRICT COTIRT
                                DISTRICT OF MINNESOTA
                                                                             RH'cHfyED
                               Criminal No. 20-78 (DSD/DTS)

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 I-INITED STATES OF AMERICA.                   )   TNFORMATTON
                                               )
                         Plaintiff,            ) 18 u.S.c. g e2a(c)
                                               ) 18 u.s.c. $ e24(dx1)
                V.                             ) 2s u.s.c.2a6r@)
                                               )
 JEFFREY LEONARD REWEY,                        )
                                               )
                        Defendant.             )


       TI{E UNITED STATES ATTORNEY CHARGES THAT:

                                         COUNT     I
           (Possession of Firearms in Furtherance of a Drug Trafficking Crime)

       On or about July 1 I,2019, in the State and District of Minnesota, the defendant,

                              JEFFREY LEONARD REWEY,

did knowingly possess firearms, that is, a Springfield XD, .45 caliber semi-automatic

handgun, bearing serial number US60479 1 ; and a   .3   80 caliber Ruger semi-automatic pistol,

with serial number 37794828, in furtherance of a drug trafficking crime for which he may

be prosecuted in a court of the United States, that is, possession with intent to distribute

methamphetamine, all in violation of Title 18, United States Code, Section 92a(c)(l)(A)(i).

                               FORFEITURE ALLEGATION

      If convicted of Count 1 of this Information, the defendant shall forfeit to the United

States, pursuant to   Title 18, United States Code, Section 924(d)(I) and Title 2g, United

States Code, Section 246I(c), any firearms, ammunition, and accessories involved in.


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        CASE 0:20-cr-00078-DSD-DTS Doc. 76 Filed 11/03/21 Page 2 of 2




United States v. Jeffrey Leonard Rewey



connected with, or used in the commission of such Count, including but not limited to: a

Springfield XD, .45 caliber semi-automatic handgun, bearing serial number US604791, a .380

caliber Ruger semi-automatic pistol, with serial number 37794828, and any ammunition and

accessories seized therewith.

Date: November       3,202I                     W. ANDERS FOLK
                                                Acting United States Attorney
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                                                     /aa.tca   4, ?/eil//l
                                                BY: JUSTIN A. WESLEY
                                                Assistant U.S. Attorney
